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                           NOTICE OF TRANSFER OF CLAIM – E1


TO:     THE DEBTORS AND THE BANKRUPTCY COURT

        For value received, the adequacy and sufficiency of which are hereby acknowledged,
Cryptocurrency Management LLC, with offices located at 3178 Carnegie Drive, State
College, PA 16803 USA (the “Seller”), hereby unconditionally and irrevocably sells, transfers
and assigns to Jefferies Leveraged Credit Products, LLC, with offices located at 520 Madison
Avenue, 3rd Floor, New York, New York 10022 (the “Buyer”) a value of $4,000,000.00 of
Seller’s right, title, interest, claims and causes of action in and to, or arising under or in connection
with, Seller’s claim (as such term is defined in Section 101(5) of the U.S. Bankruptcy Code),
designated on the Claims Registry in the Bankruptcy Case (as defined below) as Case No. 23-
10063 and filed in the original liquidated face claim amount of $4,000,000.00, that was asserted
against Genesis Global Capital, LLC and Genesis Global Holdco, LLC, and each of its debtors
and non-debtor affiliates (collectively, “Genesis”), (the “Bankruptcy Case”) pending in the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

        Seller hereby waives any objection to the transfer of the claim to Buyer on the books and
records of the Debtors and the Bankruptcy Court, and hereby waives to the fullest extent permitted
by law any notice or right to a hearing as might be imposed by Rule 3001 of the Federal Rules of
Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules or applicable law.
Seller acknowledges and understands, and hereby stipulates, that an order of the Bankruptcy Court
may be entered without further notice to Seller transferring to Buyer the foregoing claim and
recognizing Buyer as the sole owner and holder of the claim. Seller further directs the Debtors,
the Bankruptcy Court, and all other interested parties that all further notices relating to the claim,
and all payments or distributions of money or property in respect of the claim, are to be delivered
or made to Buyer.

                                      (remainder of page blank)
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        IN WITNESS WHEREOF, this NOTICE OF TRANSFER OF CLAIM is executed this 31st
day of January, 2023

                    SELLER:

                    Cryptocurrency Management LLC,




                    BUYER:

                    Jefferies Leveraged Credit Products, LLC,
